   Case 1:03-cv-00439-DWM ECF No. 78 filed 02/20/04 PageID.846 Page 1 of 2



                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




TIMOTHY J. RYAN, et al.,            )
                                    )
                  Plaintiffs,       )                Case No. 1:03-cv-439
                                    )
v.                                  )                Honorable David W. McKeague
                                    )
ADELE McGINN-LOOMIS, et al.,        )
                                    )                       ORDER
                  Defendants.       )
____________________________________)


               The parties have informed the court that a motion for reconsideration has been filed

in the Michigan Supreme Court in the case of Ryan v. Ryan, case no. 240695 (Mich. Ct. App).

Because of the close interconnection of that case with the pending civil rights action, the court

determines that discovery and motion practice in this matter should be stayed pending final

resolution of the state-court action, if feasible. Accordingly, all dates and deadlines previously

established in this matter are VACATED. The court will conduct another telephone status

conference with counsel on Mon., April 26, 2004, at 3:00 p.m., unless any party requests an earlier

conference.

               In addition, the court will conduct a telephone conference with counsel on Thur.,

February 26, 2004, at 3:00 p.m., to discuss referral of this matter to voluntary facilitative

mediation.
Case 1:03-cv-00439-DWM ECF No. 78 filed 02/20/04 PageID.847 Page 2 of 2



         DONE AND ORDERED this 20th day of February, 2004.


                            /s/ Joseph G. Scoville
                            United States Magistrate Judge




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